                   Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 1 of 8

SC 13D/A 1 e621886_sc13da-rcv.htm AMENDMENT NO. 2 TO THE SCHEDULE 13D

                                          SECURITIES AND EXCHANGE COMMISSION
                                                  WASHINGTON, DC 20549
                                                      ______________

                                                           SCHEDULE 13D
                                                            (Rule 13d-101)

                        INFORMATION TO BE INCLUDED IN STATEMENTS FILED PURSUANT
                        TO RULE 13d-1(a) AND AMENDMENTS THERETO FILED PURSUANT TO
                                                 RULE 13d-2(a)

                                                         (Amendment No. 2)1

                                                       Bed Bath & Beyond Inc.
                                                          (Name of Issuer)

                                              Common Stock, $0.01 par value per share
                                                  (Title of Class of Securities)

                                                             075896100
                                                           (CUSIP Number)

                                                          RYAN NEBEL
                                               OLSHAN FROME WOLOSKY LLP
                                                   1325 Avenue of the Americas
                                                    New York, New York 10019
                                                          (212) 451-2300
                                         (Name, Address and Telephone Number of Person
                                        Authorized to Receive Notices and Communications)

                                                         April 21, 2022
                                      (Date of Event Which Requires Filing of This Statement)

        If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this
Schedule 13D, and is filing this schedule because of Rule 13d-1(e), 13d-1(f) or 13d-1(g), check the following box ☐.

        Note. Schedules filed in paper format shall include a signed original and five copies of the schedule, including all exhibits.
See Rule 13d-7 for other parties to whom copies are to be sent.

                                                    (Continued on following pages)




1         The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to the
subject class of securities, and for any subsequent amendment containing information which would alter disclosures provided in a
prior cover page.

         The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of Section
18 of the Securities Exchange Act of 1934 or otherwise subject to the liabilities of that section of the Act but shall be subject to all
other provisions of the Act (however, see the Notes).




                                                                                                                                1
           Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 2 of 8


     1         NAME OF REPORTING PERSON

                  RC VENTURES LLC
     2         CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP                    (a) ☐
                                                                                   (b) ☐

     3         SEC USE ONLY


     4         SOURCE OF FUNDS

                   WC
     5         CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT     ☐
               TO ITEM 2(d) OR 2(e)


     6         CITIZENSHIP OR PLACE OF ORGANIZATION

                  DELAWARE
 NUMBER OF          7      SOLE VOTING POWER
  SHARES
BENEFICIALLY                     9,450,100
 OWNED BY           8         SHARED VOTING POWER
   EACH
 REPORTING                       -0-
PERSON WITH         9         SOLE DISPOSITIVE POWER

                                 9,450,100
                   10         SHARED DISPOSITIVE POWER

                              -0-
     11        AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON

                  9,450,100
    12         CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN        ☐
               SHARES


    13         PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)

                  11.8%
    14         TYPE OF REPORTING PERSON

                  OO


                                              2
           Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 3 of 8


     1         NAME OF REPORTING PERSON

                  RYAN COHEN
     2         CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP                    (a) ☐
                                                                                   (b) ☐

     3         SEC USE ONLY


     4         SOURCE OF FUNDS

                   OO
     5         CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT     ☐
               TO ITEM 2(d) OR 2(e)


     6         CITIZENSHIP OR PLACE OF ORGANIZATION

                  CANADA
 NUMBER OF          7         SOLE VOTING POWER
  SHARES
BENEFICIALLY                     9,450,100
 OWNED BY              8      SHARED VOTING POWER
   EACH
 REPORTING                       -0-
PERSON WITH            9      SOLE DISPOSITIVE POWER

                                 9,450,100
                   10         SHARED DISPOSITIVE POWER

                              -0-
     11        AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON

                  9,450,100
    12         CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN        ☐
               SHARES


    13         PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)

                  11.8%
    14         TYPE OF REPORTING PERSON

                  IN


                                              3
                  Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 4 of 8



                  The following constitutes Amendment No. 2 to the Schedule 13D filed by the undersigned (“Amendment No.
2”). This Amendment No. 2 amends the Schedule 13D as specifically set forth herein. This Amendment No. 2 was triggered solely
due to a change in the number of outstanding Shares of the Issuer.

Item 5.           Interest in Securities of the Issuer.

                  Items 5(a) and (c) are hereby amended and restated to read as follows:

                 (a)      The aggregate percentage of Shares reported owned by each person named herein is based upon
79,957,649 Shares outstanding as of May 28, 2022 as reported in the Issuer’s Quarterly Report on Form 10-Q filed with the
Securities and Exchange Commission on June 29, 2022.

                  As of the date hereof, RC Ventures directly beneficially owned 9,450,100 Shares, including 1,670,100 Shares
underlying certain call options, constituting approximately 11.8% of the Shares outstanding. Mr. Cohen, as the Manager of RC
Ventures, may be deemed to beneficially own the 9,450,100 Shares directly beneficially owned by RC Ventures, constituting
approximately 11.8% of the Shares outstanding.

                    The filing of this Schedule 13D shall not be deemed an admission that the Reporting Persons are, for purposes of
Section 13(d) of the Securities Exchange Act of 1934, as amended, the beneficial owners of any securities of the Issuer that he or it
does not directly own. Each of the Reporting Persons specifically disclaims beneficial ownership of the securities reported herein
that he or it does not directly own.

                  (c)      There have been no transactions in securities of the Issuer by the Reporting Persons during the past sixty
days nor since the filing of Amendment No. 1 to the Schedule 13D.

                                                                 4
                  Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 5 of 8



                                                         SIGNATURES

                  After reasonable inquiry and to the best of his knowledge and belief, each of the undersigned certifies that the
information set forth in this statement is true, complete and correct.

Dated: August 16, 2022

                                                                 RC Ventures LLC

                                                                 By:      /s/ Ryan Cohen
                                                                          Name:      Ryan Cohen
                                                                          Title:     Manager

                                                                 /s/ Ryan Cohen
                                                                 Ryan Cohen


                                                                5
Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 6 of 8




                                                                 2
Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 7 of 8
Case 1:22-cv-02541-TNM Document 2-2 Filed 08/24/22 Page 8 of 8




                                                                 3
